Case: 1:18-cv-03632 Document #: 1-8 Filed: 05/23/18 Page 1 of 2 PageID #:46




                              EXHIBIT 8
            Case: 1:18-cv-03632 Document #: 1-8 Filed: 05/23/18 Page 2 of 2 PageID #:47


                                                   City of Evanston                                          Health Department
                                                  2100 Ridge Avenue                                             (847) 448-4311

                                                Evanston, IL 60201-2798
                                                                                                               INVOICE

Bill To:

Peppercorns Kitchen                                                        License #:   15FOOD-0020
620 Davis St                                                               Group:       Health
Evanston, IL 60201                                                         Type:        Food Establishment
                                                                           Subtype:     NA


Establishment                                             Business Owne     THE BOILING POINT INC

Inv. Dat   Inv. Num   Fee Description                                   Quantity     Fee Amount              Paid         Due
1/12/16    112179     Category 1 < 5000 sq ft                                1.00        $617.00            $0.00     $617.00

                                                                                                        Balance Due: $617.00




                         To pay online go to: http://www.cityofevanston.org/payhealthdept




                        To ensure proper credit, remit this portion of the invoice with your payment.
                                        Make checks payable to: City of Evanston

Amount Due: $617.00                                                          Mail Payment To:

Reference No.: 15FOOD-0020                                                   City of Evanston
Property Address: 620 DAVIS ST                                               Attn: Health Department
Property Owner:                                                              2100 Ridge Avenue
                                                                             Evanston, IL 60201
